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UNITED s'rATEs DIsTRIcT coURT F"'ED E' ~"~-" D'C'
WESTERN DISTRICT OF TENNESSEE ,
Western Division 05 JUL 25 PH 5` ls
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UNITED STATES OF AMERICA ,i flb ‘Cr~ sit i.r;lrlPHIS
-vs- Case No. 2:05cr20230-Ml

ODIE SMITH

 

ORDER OF TEMPORARY DETENTION
PENDING Hli`.ARII`IGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Defenda.nt, it is ORDERED that a detention hearing is re-set for
TUESDAY, JULY 26, 2005 at 2:45 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Buiiding, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: Ju1y25,2005 .
@JLML© /< ZO€MJ'

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

‘If not held irmnediately upon defendant‘s first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£)(2).

A hearing is required whenever the conditions set forth in lS U.S.C. § 3142(0 are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B/B§} Order of Ternporary Detention

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with Huie 55 and/or 32(b) FHCrP on i"& ig l

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Linda Kendall Garner

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Katrina U. Earley

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Honorable J on McCalla
US DISTRICT COURT

